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 AO 245B (Rev. AO 11/16-CAN 10/17) Judgment in Criminal Case


                                    UNITED STATES DISTRICT COURT
                                             Northern District of California
            UNITED STATES OF AMERICA                           ) JUDGMENT IN A CRIMINAL CASE
                        v.                                     )
                   Dominic Leung                               )    USDC Case Number: CR-12-00083-001 PJH
                                                               )    BOP Case Number: DCAN412CR00083-001
                                                               )    USM Number: 17022-111
                                                               )    Defendant’s Attorney: Eugene Illovsky (Retained)


 THE DEFENDANT:
    pleaded guilty to count: One of the information
    pleaded nolo contendere to count(s): which was accepted by the court.
    was found guilty on count(s): after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:
 Title & Section           Nature of Offense                                                  Offense Ended   Count
 15 U.S.C. § 1             Bid Rigging                                                        1/31/2011       1


 The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
 pursuant to the Sentencing Reform Act of 1984.

       The defendant has been found not guilty on count(s):
       Count Two is dismissed on the motion of the United States.

       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                   12/15/2017
                                                                   Date of Imposition of Judgment


                                                                   Signature of Judge
                                                                   The Honorable Phyllis J. Hamilton
                                                                   Chief United States District Judge
                                                                   Name & Title of Judge

                                                                   December 20, 2017
                                                                   Date
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                                                              PROBATION
The defendant is hereby sentenced to probation for a term of: 3 years.

The appearance bond is hereby exonerated. Any cash bail plus interest shall be returned to the owner(s) listed on the Affidavit of
Owner of Cash Security form on file in the Clerk's Office.

                                     MANDATORY CONDITIONS OF SUPERVISION
1)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4)           You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5)           You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6)           You must participate in an approved program for domestic violence. (check if applicable)
7)           You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
             applicable)
8)    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9)    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10)   You must notify the court of any material change in your economic circumstances that might affect your ability to pay
      restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)         You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a
           different time frame.
2)         After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)         You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
4)         You must follow the instructions of the probation officer related to the conditions of supervision.
5)         You must answer truthfully the questions asked by your probation officer.
6)         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
           before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
           notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)         You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
           view.
8)         You must work regularly at a lawful occupation, unless excused by the probation officer. If you plan to change where you
           work or anything about your work (such as your position or your job responsibilities), you must notify the probation officer
           at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
           unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
           expected change.
9)         You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
           communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
           probation officer.
10)        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)        You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
           without first getting the permission of the court.
12)        You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers).

           If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
           person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
           that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.




(Signed)
             Defendant                                                          Date


             U.S. Probation Officer/Designated Witness                          Date
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                                         SPECIAL CONDITIONS OF SUPERVISION

1.       You shall pay any restitution, fine and special assessment that is imposed by this judgment and that
         remains unpaid at the commencement of the term of probation.

2.       You shall provide the probation officer with access to any financial information, including tax returns,
         and shall authorize the probation officer to conduct credit checks and obtain copies of income tax
         returns.

3.       You shall participate in the Location Monitoring Program as directed by the probation officer for a
         period of 6 months, and be monitored by Location monitoring technology at the discretion of the
         probation officer. Location monitoring shall be utilized to verify your compliance with home detention
         while on the program. You are restricted to your residence at all times except for employment,
         education, religious services, medical appointments, substance abuse or mental health treatment,
         attorney visits, court appearances, court-ordered obligations, or other activities pre-approved by the
         probation officer. You shall pay all or part of the costs of the program based upon your ability to pay as
         determined by the probation officer.

4.       You shall cooperate in the collection of DNA as directed by the probation officer.
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                                                  CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                Assessment                          JVTA                              Fine                     Restitution
                                                                                 Assessment*
TOTALS                                               $ 100                           N/A                           $ 20,700                   $ 45,428.50


      The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C)
      will be entered after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned
           payment, unless specified otherwise in the priority order or percentage payment column below.
           However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States
           is paid.
Name of Payee                                       Total Loss                       Restitution Ordered                      Priority or Percentage
Dorothy Walker                                                                               $195.00
GreenPoint Mortgage                                                                          $357.00
Funding
100 Wood Hollow Drive
Novato, CA 94945
JPMorgan Chase Bank,                                                                            $9,054.00
N.A.
Recovery Investigation
Group
10151 Deerwood Park
Blvd., Bldg. 300
Jacksonville, FL 32256
Law Offices of Les Zieve                                                                         $506.50
18377 Beach Blvd Suite
210
Huntington Beach, CA
92648
Ocwen Loan Servicing,                                                                           $4,548.75
LLC
c/o James Bologna
Cashiering Department
1661 Worthington Road
West Palm Beach, FL
33409


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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OneWest Bank, a division                                             $1,295.00
of CIT Bank, N.A.
75 North Fair Oaks
Avenue
Pasadena, CA 91103
Ruth Schlueter-Wild                                                  $6,000.00
Synchrony Bank                                                        $441.50
P.O. Box 105972
Atlanta, GA 30348
Thomas Donald Otero                                                   $500.00
Tony Norman Tisher                                                   $4,840.00
U.S. Bank Home                                                        $450.00
Mortgage
Attn: Escalation Center
17500 Rockside Road
Bedford, OH
Wells Fargo Bank, N.A.                                               $7,185.00
Attn: Denise Roy
625 Marquette Avenue
South, 16th floor
Minneapolis, MN 54402

TOTALS                                                             $ 45,428.50


      Restitution amount ordered pursuant to plea agreement $ 45,428.50
      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
      is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of
      the payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18
      U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for the.
            the interest requirement is waived for the is modified as follows:
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                                                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of $66,228.50 due immediately, balance due
                        not later than , or
                        in accordance with                 C,         D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E              Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               Once the defendant is on probation, criminal monetary payments must be paid in monthly
               payments of not less than $1,000 payments and shall be made to the Clerk of U.S. District Court,
               Attention: Financial Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States:

       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.





 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
